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                     Exhibit 4
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9    United States of America

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                                    UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
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15   UNITED STATES OF AMERICA,                             CASE NO. 5:25-CV-00951-PCP
16                                 Plaintiff,              JUDGE: Hon. P. Casey Pitts
17                                                         MAGISTRATE JUDGE: Hon. Susan van Keulen
                             v.
18                                                         [PROPOSED] ORDER GRANTING
     HEWLETT PACKARD ENTERPRISE CO.
                                                           PLAINTIFF’S MOTION TO COMPEL
19   and JUNIPER NETWORKS, INC.
                                                           COMPLIANCE WITH SUBPOENA
20                                Defendants.

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            This matter is before the Court on Plaintiff United States of America and Non-Party Gartner,
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     Inc.’s Joint Statement Regarding Discovery Dispute. Upon consideration of the Joint Statement, the
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     relevant authorities cited therein and the Exhibits thereto, the Court finds that Plaintiff has shown
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     sufficient cause for the production of the documents requested by the Subpoena dated March 27, 2025.
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     Therefore, it is hereby ORDERED that Non-Party Gartner, Inc. shall comply with the Subpoena within 7
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     days of entry of this order and no later than Monday, June 23, 2025, being 10 days prior to the date for
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                                                            1
                                  [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
                                                CASE NO. 5:25-CV-00951-PCP
          Case 5:25-cv-00951-PCP           Document 116-4           Filed 05/23/25        Page 3 of 3



1    the submission of final exhibit lists to the Court in accordance with the Scheduling Order (ECF 104).

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3    IT SO ORDERED.

4    Dated: ____________, 2025
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                                                                HONORABLE SUSAN VAN KEULEN
6                                                                    United States Magistrate Judge

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                                 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
                                               CASE NO. 5:25-CV-00951-PCP
